     Case 4:08-cr-00081-WTM-GRS Document 52 Filed 10/31/08 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

UNITED STATES OF AMERICA                       )       INDICTMENT NO. CR408-81
                                               )
v.                                             )       VIO: 21 U.S.C. § 841(a)(1)
                                               )            Possession with intent to Distribute
ANTHONY Mc.NICOLL and                          )            3,4-Methylenedioxyethainphetaminc
RICHARD SALMON                                 )            (Ecstasy)

        DISMISSAL WITHOUT PREJUDICE OF DEFENDANT RICHARD SALMON

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court endorsed

hereon, the United States Attorney for the Southern District of Georgia hereby dismisses WITHOUT

PREJUDICE the defendant Richard Salmon. The government shows that defendant has been determined

to have had minimal involvement in the above criminal charges, and based upon that, further proceedings

against him in this matter would not be in the interests of justice.

                                                       Respectfully submitted,
                                                       EDMUND A. BOOTH, JR.
                                                       UNITED STATES ATTORNEY

                                                          IA.! Va,i'tht . tcdLozk
100 Bull Street                                        Darrin L. Mccullough
Savannah, GA 31401                                     Assistant United States Attorney
(912) 652-4422

                                           LEAVE OF COURT

       Leave of Court is GRANTED for the filing of the foregoing dismissal without prejudice of the
defendant Richard Salmon from this indictment.

               SO ORDERED, this I - day ofC''                                  , 2008.



                                                 IhiainT.Moorc,Jr,
                                               Chief Judge, United States District Court
                                               Southern District of Georgia
